             IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF TENNESSEE
AMERICAN ALLIANCE FOR EQUAL RIGHTS,
                           Plaintiff,
v.

MCDONALD’S CORPORATION;              No. 3:25-cv-50
MCDONALD’S USA, LLC; and
INTERNATIONAL SCHOLARSHIP & TUITION
SERVICES, INC.,
                         Defendants.

   [PROPOSED] ORDER GRANTING EMERGENCY MOTION
        FOR A TEMPORARY RESTRAINING ORDER
           AND A PRELIMINARY INJUNCTION
      Before the Court is Plaintiffs’ emergency motion for a temporary restraining or-

der and a preliminary injunction. Having considered the parties’ briefs, evidence, and

the relevant caselaw, the Court is satisfied that Plaintiff meets all the requirements for

interim relief. Defendants are hereby ENJOINED, until further order of this Court,

from closing the application window or picking winners for the McDonald’s HACER

program.



January _____, 2025                      _________________________________
                                         United States District Judge




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